Case 6:18-cv-00932-PGB-KRS Document 60 Filed 11/14/18 Page 1 of 23 PageID 304



                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION


BIENVENIDO ARACENA,

                     Plaintiff,

v.                                                       Case No: 6:18-cv-932-Orl-40KRS

ADAM TODD GRULER, JOHN DOES 1-
20, JOHN DOES 21-30 and CITY OF
ORLANDO, FLORIDA,

                     Defendants.
                                          /

                                          ORDER

       This case involves unfathomable tragedy. On June 12, 2016, an armed gunman

entered the Pulse nightclub and gunned down as many people as he could, killing and

injuring dozens. In the aftermath of the horrific attack, Plaintiff filed suit alleging

constitutional deprivations by the City of Orlando and its officers for not preventing the

massacre and not going in quickly enough to “neutralize” the shooter. If magnitude of loss

determined whether Plaintiff could recover, then recovery would be certain. But Plaintiff

asserts constitutional claims that are patently foreclosed by Supreme Court and Eleventh

Circuit precedent that requires this Court to dismiss the suit.

       This matter is before the Court without oral argument on Defendants’ Dispositive

Motion to Dismiss (Doc. 54 (the “Motion”)), filed September 14, 2018. Plaintiff responded

in opposition on October 22, 2018. (Vielma v. Gruler, No. 6:18-cv-884, Doc. 58 (M.D. Fla.
Case 6:18-cv-00932-PGB-KRS Document 60 Filed 11/14/18 Page 2 of 23 PageID 305



2018) (“Vielma”)). 1 With briefing complete, the matter is ripe. Upon consideration, the

Motion is due to be granted and the case dismissed.

I.      BACKGROUND 2

        The events giving rise to this suit begin in the early morning hours of June 12,

2016. (Doc. 48, ¶¶ 13–14). At that time, Defendant Adam Todd Gruler (“Officer Gruler”),

a City of Orlando law enforcement officer, was on duty providing security at the Pulse

nightclub in Orlando, Florida. (Id. ¶ 15). At some point during his shift, Officer Gruler

“abandoned his post.” (Id.). Around 2:00 a.m., an individual (the “Shooter”) entered Pulse

to “look around” and determined he could carry out his plan to murder patrons inside due

to the visible absence of security. (Id. ¶ 14).

        After scouting the club, the Shooter retrieved his weapons—a semi-automatic rifle

and semi-automatic pistol—re-entered Pulse and opened fire on the patrons inside. (Id.

¶¶ 13–14, 17). When the shooting began, Gruler “immediately became aware an active

shooter was shooting patrons in Pulse,” but allegedly “stayed outside.” (Id. ¶¶ 18–19).

“Shortly thereafter,” City of Orlando police officers entered Pulse and engaged the

Shooter, causing him to retreat into a restroom where he barricaded himself and several

hostages. (Id. ¶¶ 21–22). Roughly three hours later, law enforcement entered Pulse and

“neutralized [the] Shooter.” (Id. ¶ 86). All told, forty-nine people were killed, and fifty-three

injured, by the Shooter. (Id. ¶ 87).



1    Plaintiff’s response in opposition was filed in the Vielma case because the Vielma
     case and this case were consolidated on September 28, 2018. (Doc. 49).

2    This account of the facts is taken from the Amended Complaint (Doc. 48). The Court
     accepts these factual allegations as true when considering motions to dismiss. See
     Williams v. Bd. of Regents, 477 F.3d 1282, 1291 (11th Cir. 2007).




                                               2
Case 6:18-cv-00932-PGB-KRS Document 60 Filed 11/14/18 Page 3 of 23 PageID 306



          Oscar Aracena (“Mr. Aracena”) was among the victims killed by the Shooter on

June 12. (Id. ¶ 6). Plaintiff Bienvenido Aracena brings this action on behalf of Oscar

Aracena’s estate. (Id. ¶ 8, p. 1). On June 12, 2018, Plaintiff initiated this action by filing

the Complaint. (Doc. 1). The Court dismissed the original Complaint without prejudice as

a shotgun pleading. (Doc. 36). On August 24, 2018, Plaintiff filed the Amended Complaint.

(Doc. 48).

          The Amended Complaint proceeds in two Counts. Count I alleges 42 U.S.C. §

1983 claims “against Defendant(s) Gruler and the City of Orlando” 3 for Defendants ’

violation of Plaintiff’s “interest in life, liberty, and property and [] substantive due process

right[s] protected by the 4th and 14th Amendments to the U.S. Constitution.” (Id. ¶¶ 25–

40). Count I is premised on Defendant Gruler “abandoning his post” before the shooting

and neglecting “to enter the club immediately after the shooting began to neutraliz e

Shooter.” (Id. ¶¶ 30–31). Count II alleges a Monell claim against Defendant City of

Orlando based on a failure-to-train theory. (Id. ¶¶ 41–50). Defendants move to dismiss

the Amended Complaint with prejudice. (Vielma, Doc. 58).

II.       STANDARD OF REVIEW

           A complaint must contain “a short and plain statement of the claim showing that

    the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(1). Thus, in order to survive a motion

    to dismiss made pursuant to Rule 12(b)(6), the complaint “must contain sufficient factual

    matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft

    v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544,




3     The Court construes the Amended Complaint as pleading Count I against both named
      Defendants despite the ambiguity.



                                                  3
Case 6:18-cv-00932-PGB-KRS Document 60 Filed 11/14/18 Page 4 of 23 PageID 307



 570 (2007)). A claim is plausible on its face when the plaintiff “pleads factual content

 that allows the court to draw the reasonable inference that the defendant is liable for

 the misconduct alleged.” Id.

        Though a complaint need not contain detailed factual allegations, mere legal

 conclusions or recitation of the elements of a claim are not enough. Twombly, 550 U.S.

 at 555. Moreover, courts are “not bound to accept as true a legal conclusion couched

 as a factual allegation.” Papasan v. Allain, 478 U.S. 265, 286 (1986). “While legal

 conclusions can provide the framework of a complaint, they must be supported by

 factual allegations.” Iqbal, 556 U.S. at 679. Courts must also view the complaint in the

 light most favorable to the plaintiff and must resolve any doubts as to the sufficiency of

 the complaint in the plaintiff’s favor. Hunnings v. Texaco, Inc., 29 F.3d 1480, 1483 (11th

 Cir. 1994) (per curiam). In sum, courts must (1) ignore conclusory allegations, bald legal

 assertions, and formulaic recitations of the elements of a claim; (2) accept well-pled

 factual allegations as true; and (3) view well-pled allegations in the light most favorable

 to the plaintiff. Iqbal, 556 U.S. at 67.

III.   DISCUSSION

       Defendants seek dismissal of Count I against Officer Gruler because (i) it fails to

state a plausible substantive due process claim, and (ii) Officer Gruler is entitled qualified

immunity. (Vielma, Doc. 58, p. 4–12). They also request dismissal of Count I as against

the City of Orlando because it fails to state a basis for municipal liability. (Id.). Finally,

Defendants move to dismiss Count II against the City of Orlando for failure to state a

claim. On review, the Court agrees and holds the Amended Complaint is due to be




                                              4
Case 6:18-cv-00932-PGB-KRS Document 60 Filed 11/14/18 Page 5 of 23 PageID 308



dismissed in its entirety. Furthermore, the Court finds the Amended Complaint is due to

be dismissed on the alternative ground that it is a shotgun pleading.

       Before analyzing the SAC’s claims, the Court takes note of the animating principles

for the laws on which Plaintiffs’ claims rest. Plaintiffs rely on 42 U.S.C. § 1983 to support

each of their claims. Section 1983 vests individuals whose federal rights are violated by

persons acting under color of state law with a federal cause of action. Congress enacted

the Civil Rights Act of 1871—§ 1983’s parent statute—in response to “the campaign of

violence and deception in the South, fomented by the Ku Klux Klan, which was denying

decent citizens their civil and political rights.” Wilson v. Garcia, 471 U.S. 261, 276 (1985).

Before the law passed, “murder,” “whipping,” and “lynching” were commonplace and

“local administrations [were] found inadequate or unwilling to apply the proper corrective.”

Id. (quoting Cong. Globe, 42d Cong., 1st Sess., 374 (1871) (remarks of Rep. Lowe).

       Section 1983 was therefore created to empower federal courts to vindicate the

federal rights of individuals harmed by those acting with actual or apparent state law

authority. Indeed, “[t]he very purpose of § 1983 was to interpose the federal courts

between the States and the people, as guardians of the people’s federal rights—to protect

the people from unconstitutional action under color of state law, whether that action be

executive, legislative, or judicial.” Mitchum v. Foster, 407 U.S. 225, 242 (1972) (citations

omitted). To that end, § 1983 is a vehicle through which individuals can bring claims

against state actors for constitutional deprivations.

       One such claim is a Fourteenth Amendment substantive due process claim. The

Due Process Clause of the Fourteenth Amendment provides that “[n]o State shall . . .

deprive any person of life, liberty, or property, without due process of law.” U.S. Const.




                                              5
Case 6:18-cv-00932-PGB-KRS Document 60 Filed 11/14/18 Page 6 of 23 PageID 309



amend. XIV, § 1. Like § 1983, the Due Process Clause “was intended to prevent

government ‘from abusing [its] power, or employing it as an instrument of oppression.’”

Collins v. City of Harker Heights, 503 U.S. 115, 126 (1992) (quoting DeShaney v.

Winnebago Cty. Dep’t of Soc. Servs., 489 U.S. 189, 196 (1989)). 4 Individuals whose due

process rights have been violated by state actors may sue the state-actor violators under

§ 1983. As a general matter then, the Fourteenth Amendment is not implicated by acts of

private violence.

          Fourteenth Amendment substantive due process protections do not “entail a body

of constitutional law imposing liability whenever someone cloaked with state authority

causes harm.” Cty. of Sacramento v. Lewis, 523 U.S. 833, 848 (1998). Neither is the Due

Process Clause a “font of tort law to be superimposed upon whatever systems may

already be administered by the States.” Id. (quoting Daniels v. Williams, 474 U.S. 327,

332 (1986)). The Constitution, instead, deals with “the large concerns of the governors

and the governed.” Id.

          A.    Count I Against Officer Gruler

          The Court begins with Count I’s substantive due process claim against Officer

Gruler.

                1.     DeShaney and its Progeny Preclude Count I Against Officer Gruler

          Before addressing the SAC, the Court submits the following overview of important

precedent in this area, which illustrates why Plaintiff’s claim fails.




4   See also Wolff v. McDonnell, 418 U.S. 539, 558 (1974) (“The touchstone of due
    process is protection of the individual against arbitrary action of government.”).



                                               6
Case 6:18-cv-00932-PGB-KRS Document 60 Filed 11/14/18 Page 7 of 23 PageID 310



       It has long been held that “a State’s failure to protect an individual against private

violence simply does not constitute a violation of the Due Process Clause.” DeShaney,

489 U.S. at 197. That principle stems from the DeShaney case which, like this one, had

tragic facts worthy of recitation. The plaintiffs there were guardians of a four-year-old who

claimed that the Department of Social Services failed to protect the child from his father’s

beatings which resulted in irreversible brain damage. Id. at 193. Over twenty-six months,

the department was repeatedly notified of ongoing abuse but failed to act. Id. at 192. The

plaintiffs brought substantive due process claims against the department for “failing to

intervene to protect [the child] against a risk of violence at his father’s hands of which [the

department] knew or should have known.” Id. at 193.

       Despite the department’s notice of the threat and failure to act, the Supreme Court

found no substantive due process violation, holding that the Due Process Clause provides

no guarantee of government protection from private violence.

       The Clause is phrased as a limitation on the State's power to act, not as a
       guarantee of certain minimal levels of safety and security. It forbids the
       State itself to deprive individuals of life, liberty, or property without “due
       process of law,” but its language cannot fairly be extended to impose an
       affirmative obligation on the State to ensure that those interests do not come
       to harm through other means. Nor does history support such an expansive
       reading of the constitutional text.

Id. at 195. Thus, the Court affirmed the principle that the Due Process Clause affords no

affirmative right to government aid, “even where such aid may be necessary to secure

life, liberty, or property interests of which the government itself may not deprive the

individual.” Id. at 196.

       This principle was reaffirmed in another tragic case, Town of Castle Rock v.

Gonzales, 545 U.S. 748 (2005). There, Jessica Gonzales had obtained a Colorado

restraining order limiting her estranged husband’s contact with her and her three



                                              7
Case 6:18-cv-00932-PGB-KRS Document 60 Filed 11/14/18 Page 8 of 23 PageID 311



daughters. Id. at 751. One evening, Gonzales’ daughters went missing. Id. at 753. She

immediately called the police, alerting them that she suspected her estranged husband

had taken them. Id. Gonzales contacted the police five times that night, and each time

they did nothing. Id. at 753–54. Hours after the girls went missing, the estranged husband

showed up at the police station and initiated a firefight with police, who shot and killed

him. Id. at 754. Soon after, it was discovered that he murdered the girls and left them in

his car. Id. at 754. Gonzales brought suit, asserting substantive and procedural due

process claims, for the police’s failure to enforce her restraining order.

       The Supreme Court summarily found that Gonzales could not state a substantive

due process claim because “the Due Process Clause does not ‘requir[e] the State to

protect the life, liberty, and property of its citizens against invasion by private actors.’” Id.

at 755, 769 (quoting DeShaney, 489 U.S. at 195). The Court likewise found that Gonzales

could not state a procedural due process claim. Id. at 769. Faced with the question of

whether Gonzales had a “legitimate claim of entitlement” in the police enforcing her

restraining order, the Court held that a “benefit is not a protected entitlement if government

officials may grant or deny it in their discretion.” Id. at 756, 760–61. “The practical

necessity for [police] discretion” warranted the conclusion that Colorado police were not

under a mandatory duty to take specific action in response to restraining order violations.

Id. at 762–63. Finally, the Court noted that the indeterminacy of the claimed entitlement—

that police should have “use[d] every reasonable means, up to and including arrest, to

enforce the order’s terms”—demonstrated that the police did not owe Gonzales a

mandatory enforcement duty. Id. at 763–64 (“Nor can someone be safely deemed

‘entitled’ to something when the identity of the alleged entitlement is vague.”). The




                                               8
Case 6:18-cv-00932-PGB-KRS Document 60 Filed 11/14/18 Page 9 of 23 PageID 312



Supreme Court has thus consistently held that there is no substantive or procedural right

to government protection from private harm. 5

       Following the high Court’s direction, the U.S. Circuit Courts of Appeals have

applied this principle in myriad cases. For instance, in Tucker v. Callahan, 867 F.2d 909,

(6th Cir. 1989), the Sixth Circuit affirmed the dismissal of a suit bringing due process

claims against a police officer who watched a brawl that rendered the plaintiff a

quadriplegic but failed to intervene or summon emergency assistance. Id. at 910–14. In

Pinder v. Johnson, 54 F.3d 1169 (4th Cir. 1995) (en banc), the Fourth Circuit found no

substantive due process violation where police officers responding to a reported domestic

dispute affirmatively promised the victim that the perpetrator would be arrested and

detained, but actually released the perpetrator who immediately returned to burn the

victim’s house down, killing her three children. Id. at 1172, 1174.

       Closer to home, the Eleventh Circuit has consistently affirmed the proposition that

“a person does not have a constitutional right under the Fourteenth Amendment to be

protected from the criminal acts of third parties.” See, e.g., Mitchell v. Duval Cty. Sch. Bd.,

107 F.3d 837, 838 (11th Cir. 1997) (per curiam). In Mitchell, Richard Mitchell tried to call

his father from the school’s administration office to get a ride home, but school officials

denied his entry, so he had to use an outside pay phone and wait there for his father to



5   It is a different matter entirely where the state has already deprived someone of their
    liberty. Indeed, “the Due Process Clause of its own force requires that conditions of
    confinement satisfy certain minimal standards for pretrial detainees, for persons in
    mental institutions, for convicted felons, and for persons under arrest.” Collins, 503
    U.S. at 127 (citations omitted); see also, e.g., Youngberg v. Romeo, 457 U.S. 307,
    315 (1982) (holding that the Due Process Clause guarantees detainees in mental
    institutions “adequate food, shelter, clothing, and medical care”); Bell v. Wolfish, 441
    U.S. 520, 535, n.16, 545 (1979) (affording pretrial detainees minimal standards of
    protection under the Due Process Clause);



                                              9
Case 6:18-cv-00932-PGB-KRS Document 60 Filed 11/14/18 Page 10 of 23 PageID 313



 arrive. Id. Mitchell was then shot and killed by private actors while waiting for his ride. Id.

 The personal representative of Mitchell’s estate sued the school board under the Due

 Process Clause. Id. The Eleventh Circuit summarily affirmed the district court’s dismissal,

 citing DeShaney and rejecting the plaintiff’s argument that the claim could proceed under

 a “special relationship” or “special danger” theory of Fourteenth Amendment liability. Id.

 at 838–40.

        Against this backdrop, it is clear that Count I against Officer Gruler cannot survive.

 Since this entire circumstance begins and ends with a private actor, Officer Gruler cannot

 be sued for violating Plaintiff’s due process rights. Indeed, Count I boils down to a claim

 that Gruler initially absconded and then failed to protect Plaintiff after the attack began.

 Yet, “[t]he affirmative duty of protection that the Supreme Court rejected in DeShaney is

 precisely the duty [Plaintiff] relies on in this case.” See Pinder, 54 F.3d at 1174. Officer

 Gruler’s failure to protect Plaintiff “against private violence simply does not constitute a

 violation of the Due Process Clause.” See DeShaney, 489 U.S. at 197. The Pulse

 shooting was a spontaneous act of violence carried out by “a thug with no regard for

 human life.” (Doc. 48, ¶ 13). With this, Plaintiff’s substantive due process claims fail.

               2.     Officer Gruler’s Conduct Does Not Shock the Conscience

        Even if Count I was not precluded by the DeShaney rule, the SAC does not

 plausibly allege that Officer Gruler’s conduct shocks the conscience. Count I is therefore

 due to be dismissed on this alternative ground.

        To prevail on a substantive due process claim, plaintiffs must plead and ultimately

 prove official action that “shocks the conscience.” Cty. of Sacramento v. Lewis, 523 U.S.

 833, 846 (1998). The conscience-shocking standard was first articulated in Rochin v.




                                               10
Case 6:18-cv-00932-PGB-KRS Document 60 Filed 11/14/18 Page 11 of 23 PageID 314



 California, 342 U.S. 165 (1952). There, the Supreme Court found that the illegal forced

 pumping of a detained suspect’s stomach “shock[ed] the conscience” because it violated

 the “decencies of civilized conduct.” Id. at 172–73. This amounted to a substantive due

 process violation.

         Since then, the Supreme Court has been loath to recognize other circumstances

 where the “shocks the conscience” standard is met to support a substantive due process

 claim. In Lewis, the Court noted that even intentional harm seldom violates the Due

 Process Clause, and “only the most egregious official conduct can be said to be ‘arbitrary

 in the constitutional sense.’” 523 U.S. at 846 (quoting Collins, 503 U.S. at 129). In defining

 this standard, the Court found that conduct intended to injure a person arbitrarily—i.e.

 government conduct disconnected from a legitimate government interest—“is the sort of

 official action most likely to rise to the conscience-shocking level.” Id. at 849 (citing

 Daniels v. Williams, 474 U.S. 327, 331 (1986) (“Historically, this guarantee of due process

 has been applied to deliberate decisions of government officials to deprive a person of

 life, liberty, or property.”)). That means “negligently inflicted harm is categorically beneath

 the threshold of [a] constitutional due process” violation. Id. at 849. Furthermore, this

 inquiry turns on the facts—it is not “subject to mechanical application in unfamiliar

 territory.” Id.

         In the context of police action, the Supreme Court has held that an even “higher

 standard of fault” is necessary to support a due process claim when police are required

 to act fast in the face of an emergency. Id. at 852–54. “[W]hen unforeseen circumstances

 demand an officer's instant judgment, even precipitate recklessness fails to inch close

 enough to harmful purpose to spark the shock that implicates ‘the large concerns of the




                                               11
Case 6:18-cv-00932-PGB-KRS Document 60 Filed 11/14/18 Page 12 of 23 PageID 315



 governors and the governed.’” Id. at 853 (quoting Daniels, 474 U.S. at 332). Furthermore,

 courts may “not use hindsight to judge the acts of police officers,” and must instead

 consider “what [the officer(s)] knew (or reasonably should have known) at the time of the

 act.” Rodriguez v. Farrell, 280 F.3d 1341, 1352–53 (11th Cir. 2002).

        The Supreme Court expounded this rule in Lewis, where it addressed the

 competing courses of action a police officer must consider when responding in a split

 second to a dangerously-fleeing suspect. 523 U.S. at 853. There, police initiated a

 dangerous high-speed chase—prohibited by the sheriff’s department’s policy on pursuit—

 that ended with a collision that killed a teenage passenger on the motorcycle being

 pursued. Id. at 836–37. The teenager’s estate sued, saying the instigation of this chase

 “shocked the conscience.” Id. at 837, 854. The Supreme Court rejected that claim in light

 of the conflicting considerations an officer in that situation must grapple with. Id. at 853–

 55. Consequently, the Court found the officers’ conduct was not so egregious as to shock

 the conscience. Id. at 854.

        Like the officers in Lewis, Officer Gruler was faced with a sudden emergency and

 had no time to deliberate. He could have gone in immediately to face an uncertain threat,

 potentially harming those inside in an attempt to neutralize the suspect, or alternatively

 stayed outside Pulse, called for backup, or set up a perimeter to secure the structure. He

 chose to momentarily leave his post and stayed outside when the gunshots began. In

 these circumstances, Officer Gruler’s conduct does not “shock the conscience.”

 Assuming the truth of the SAC’s allegations and viewing the SAC in the light most

 favorable to Plaintiff, Officer Gruler’s conduct can conceivably be characterized as

 negligent—perhaps even reckless. But as noted above, even “precipitate recklessness”




                                              12
Case 6:18-cv-00932-PGB-KRS Document 60 Filed 11/14/18 Page 13 of 23 PageID 316



 is insufficient to support a substantive due process claim. See Lewis, 523 U.S. at 853.

 “Regardless whether [Officer Gruler’s] behavior offended the reasonableness held up by

 tort law or the balance struck in law enforcement's own codes of sound practice, it does

 not shock the conscience, and [he may] not [be] called upon to answer for it under §

 1983.” See id. at 855. So Count I also fails because, DeShaney aside, Officer Gruler’s

 alleged conduct does not “shock the conscience.” 6

               3.      Deliberate Indifference

        Next, Plaintiff attempts to salvage the substantive due process claim by advancing

 a deliberate indifference theory. (Doc. 48, ¶ 26). Like before, this fails.

        Outside the custodial context, this claim is hard to come by. “[A]t the very least, [it]

 require[s] a showing of deliberate indifference to an extremely great risk of serious injury

 to someone in Plaintiffs’ position.” Waddell v. Hendry Cty. Sheriff’s Office, 329 F.3d 1300,

 1306 (11th Cir. 2003) (emphasis added). “To act with deliberate indifference, a state actor

 must know of and disregard an excessive—that is, an extremely great—risk to the victim’s

 health or safety.” Id. This standard is “sensibly employed only when actual deliberation is

 practical.” Lewis, 523 U.S. at 851. 7



 6   Mindful that the Court must accept the well-pled factual allegations as true for
     purposes of this motion, the Court notes for completeness that Officer Gruler left his
     so-called post at the nightclub before the shooting commenced to intercept an under-
     aged patron who had a habit of illegally sneaking into the club. Officer Gruler testified
     to this at criminal trial, and fairness to all concerned dictates inclusion of this fact.

 7   By “deliberate indifference,” the Supreme Court stressed that it did not mean to
     describe “‘deliberation’ in the narrow, technical sense in which it has sometimes been
     used in traditional homicide law.” Id. at 851 n.11. (citing Caldwell v. State, 84 So. 272,
     276 (Ala. 1919) (noting that “‘deliberation here does not mean that the man slayer
     must ponder over the killing for a long time’”; rather, “it may exist and may be
     entertained while the man slayer is pressing the trigger of the pistol that fired the fatal
     shot[,] even if it be only for a moment or instant of time.”)).



                                               13
Case 6:18-cv-00932-PGB-KRS Document 60 Filed 11/14/18 Page 14 of 23 PageID 317



        Accordingly, the “deliberate indifference” standard for substantive due process

 claims is inapplicable to this case of unforeseen circumstances where actual deliberation

 was impractical. See id. But even if the deliberate indifference standard were applicable

 to this case, the Amended Complaint is bereft of factual allegations showing that Officer

 Gruler was aware of a risk that was “extremely great.” See Waddell, 329 F.3d at 1306. It

 does not allege any foreknowledge of the Pulse attack by any Defendants and offers no

 factual allegations establishing that nightclubs lacking visible security are under an

 “extremely great risk” of attack. See id. Thus, Officer Gruler’s conduct was not deliberately

 indifferent to Plaintiff’s constitutional rights.

        Plaintiff cites several inapposite district court decisions in support of the argument

 that Officer Gruler’s conduct was deliberately indifferent to Plaintiff’s constitutional rights.

 First, Olson v. Barrett, No. 6:13–cv–1886, 2015 WL 1277933 (M.D. Fla. Mar. 20, 2015).

 In Olson, police went to Shelly Olson’s home one evening, in part to perform a suicide

 check. Id. at *1–3. Police questioned Ms. Olson in her home, then went outside to gather

 additional information, leaving her unattended. Id. at *3. Moments later, Ms. Olson

 retrieved a shotgun and shot herself in the chest. Id. “None of the officers provided Ms.

 Olson with basic life support at this time, and no ambulance was called.” Id. Paramedics

 arrived nine minutes after the gunshot, too late to save Ms. Olson’s life. Id. at *4. Her

 estate brought a substantive due process claim, and the district court found that the

 complaint stated a plausible “medical indifference” claim based on officers’ failure to

 “undertake any lifesaving actions” in the nine minutes that Ms. Olson laid on the ground

 dying in front of police without receiving any medical treatment. Id. at *9–11.




                                                     14
Case 6:18-cv-00932-PGB-KRS Document 60 Filed 11/14/18 Page 15 of 23 PageID 318



        Plaintiff’s reliance on Olson is misguided. Unlike Olson, which involved a suicide

 attempt witnessed by police followed by nine minutes of inaction while Ms. Olson lay dying

 in front of police, the instant case stems from a prolonged emergency created by a well-

 armed assailant firing dozens of rounds inside a nightclub over several hours. The Court

 is not inclined to expand Olson’s narrow holding to the dramatically different facts of this

 case. See White v. Lemacks, 183 F.3d 1253, 1259 (11th Cir. 1999) (requiring the arbitrary

 and conscience-shocking standards “be narrowly interpreted and applied”).

        Second, Plaintiff offers Waldron v. Spicher, No. 5:16-cv-658, 2017 WL 3972464

 (M.D. Fla. Aug. 11, 2017) (Report & Recommendation), adopted, 2017 WL 3922946

 (M.D. Fla. Sept. 7, 2017). Waldron is likewise unhelpful to Plaintiff’s case. In Waldron,

 police responded to an emergency call reporting an attempted suicide by Anthony Ybarra,

 Jr. Id. at *1. Mr. Ybarra tried to hang himself from a tree but was almost immediately

 noticed by family members and a neighbor who cut him down and began administering

 CPR. Id. When a deputy arrived, he instructed the person performing CPR to stop, told

 incoming emergency units not to hurry, and blocked paramedics from reaching Mr. Ybarra

 after they arrived. Id. at *1–2. Paramedics eventually reached Mr. Ybarra and resumed

 CPR “with life signs,” but he died in the hospital a week later. Id. at *2. Mr. Ybarra’s estate

 brought a substantive due process claim for the police’s “medical indifference,” and at the

 motion to dismiss stage, the court found that the complaint stated a plausible claim. Id. at

 *6. The Court is unpersuaded by Waldron for the same reasons it is unmoved by Olson. 8

 Similarly, Plaintiff’s citation to Pinkney v. Davis, 952 F. Supp. 1561 (M.D. Ala. 1997) does



 8   In fact, the court in Waldron discussed Olson at length, and found that the plaintiffs in
     both cases stated plausible medical indifference claims for similar reasons. Id. at *7–
     8.



                                               15
Case 6:18-cv-00932-PGB-KRS Document 60 Filed 11/14/18 Page 16 of 23 PageID 319



 not move the needle because that case involved defendants’ alleged indifference to the

 medical needs of an individual detained by the Alabama Department of Corrections. Id.

 at 1563–65.

               4.     Qualified Immunity

        Finally, the Court turns to Officer Gruler’s qualified immunity argument. Qualified

 immunity protects government officials “from liability for civil damages insofar as their

 conduct does not violate clearly established statutory or constitutional rights of which a

 reasonable person would have known.” Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982).

 Qualified immunity protects all officials except “the plainly incompetent or those who

 knowingly violate the law.” Malley v. Briggs, 475 U.S. 335, 341 (1986).

        To receive qualified immunity, a government official “must first prove that he was

 acting within the scope of his discretionary authority when the allegedly wrongful acts

 occurred.” Lee v. Ferraro, 284 F.3d 1188, 1194 (11th Cir. 2002) (internal quotation marks

 omitted). “Once the defendant establishes that he was acting within his discretionary

 authority, the burden shifts to the plaintiff to show that qualified immunity is not

 appropriate.” Lee, 284 F.3d at 1194. To do so, the plaintiff must make a two-part showing.

 First, the plaintiff must allege that the facts of the case, if proven to be true, would make

 out a constitutional violation. Pearson v. Callahan, 555 U.S. 223, 232 (2009); Beshers v.

 Harrison, 495 F.3d 1260, 1265 (11th Cir. 2007). Second, the plaintiff must show that the

 constitutional right was “clearly established” at the time of the alleged misconduct.

 Pearson, 555 U.S. at 232. Because qualified immunity provides a complete defense from

 suit, “courts should ascertain the validity of a qualified immunity defense as early in the

 lawsuit as possible.” Gilmore v. Hodges, 738 F.3d 266, 272 (11th Cir. 2013).




                                              16
Case 6:18-cv-00932-PGB-KRS Document 60 Filed 11/14/18 Page 17 of 23 PageID 320



        “For a constitutional right to be clearly established, its contours ‘must be sufficiently

 clear that a reasonable official would understand that what he is doing violates that right.’”

 Hope v. Pelzer, 536 U.S. 730, 739 (2002) (quoting Anderson v. Creighton, 483 U.S. 635,

 640 (1987)). Even in novel factual circumstances, “officials can still be on notice that their

 conduct violates established law . . . .” Id. at 741 (rejecting a requirement that previous

 cases have “materially similar” facts to give officials notice). For instance, officials may be

 on notice where “a broader, clearly established principle . . . control[s] the novel facts in

 [a] situations,” or where conduct “so obviously violates th[e] constitution that prior case

 law is unnecessary.” Mercado v. City of Orlando, 407 F.3d 1152, 1159 (11th Cir. 2005).

        In this case, Plaintiff can satisfy neither part of the two-part showing to establish

 that Officer Gruler is not entitled qualified immunity. As discussed supra Subsections

 III.A.1–3, Plaintiff has not alleged facts that make out a constitutional violation. See

 Pearson, 555 U.S. at 232. And even if Plaintiff had, there has been no showing that the

 constitutional right at issue was “clearly established.” See id. Plaintiff relies on Olson and

 Waldron to establish that the Pulse nightclub occupants had a “clearly established”

 constitutional right to Officer Gruler’s assistance. (Vielma, Doc. 58, pp. 4–5). But as the

 Court’s analysis supra Subsection III.A.3 makes clear, neither Olson nor Waldron

 supports the proposition that Officer Gruler violated Plaintiff’s rights. Count I therefore

 fails to state a plausible claim against Officer Gruler, and even if it did, he is entitled to

 qualified immunity.

        B.     Count I Against Defendant City of Orlando

        Count I also avers a claim against Defendant City of Orlando. (Doc. 48, p. 4).

 However, the Amended Complaint and Response to Defendants’ Motion to Dismiss do




                                               17
Case 6:18-cv-00932-PGB-KRS Document 60 Filed 11/14/18 Page 18 of 23 PageID 321



 not make clear the theory of liability Count I relies on with respect to the City of Orlando.

 Because municipal governments may not be held liable under respondeat superior or

 vicarious liability for the constitutional wrongdoings of their agents, Count I is due to be

 dismissed as to Defendant City of Orlando. See City of Canton v. Harris, 489 U.S. 378,

 385 (2007); Monell v. Dep’t of Soc. Servs., 436 U.S. 658, 691 (1978). To the extent Count

 I asserts a failure-to-train Monell claim, it is duplicative of Count II, which the Court

 discusses below.

        C.     Count II Against City of Orlando

        Last, the Court turns to Count II, which alleges a Monell claim against Defendant

 City of Orlando for its failure to adequately train Officer Gruler and other responding

 officers “in how to provide adequate security in public places that are highly susceptible

 to danger, and how to enter and neutralize an active shooter.” (Doc. 48, ¶¶ 41–50).

 Defendants move to dismiss Count II chiefly on two grounds: (i) Count II lacks an

 underlying constitutional violation; and (ii) Count II fails to state a plausible claim. (Doc.

 54, pp. 14–19).

        First, Count II fails because of the absence of an underlying constitutional violation.

 Indeed, a Monell claim is derivative of—and thus requires—an underlying constitutional

 violation. City of L.A. v. Heller, 475 U.S. 796, 799 (1986). As the Court concluded supra,

 the Amended Complaint fails to allege an underlying constitutional violation by Defendant

 Officer Gruler. Count II therefore does not state a claim. See Knight ex rel. Kerr v. Miami–

 Dade Cty., 856 F.3d 795, 821 (11th Cir. 2017) (“There can be no policy-based liability or

 supervisory liability when there is no underlying constitutional violation.”). But even if the




                                              18
Case 6:18-cv-00932-PGB-KRS Document 60 Filed 11/14/18 Page 19 of 23 PageID 322



 Amended Complaint alleged an underlying constitutional violation, it fails to allege a

 custom or policy supporting Monell liability.

        A plaintiff suing a municipality can recover under § 1983 if “action pursuant to

 official municipal policy of some nature caused a constitutional tort.” Monell v. N.Y.C.

 Dep’t of Soc. Servs., 436 U.S. 658, 691 (1978). Official municipal policy includes

 governmental leaders’ decisions, as well as “practices so persistent and widespread as

 to practically have the force of law. These are actions for which the municipality is actually

 responsible.” Connick v. Thompson, 563 U.S. 51, 61 (2011) (citation and quotation marks

 omitted). To support a Monell claim, the official policy must be the “moving force behind

 the constitutional violation.” City of Canton v. Harris, 489 U.S. 378, 389 (1989) (alteration

 accepted).

        Under certain circumstances, a local government may incur liability for failing to

 train its employees about their obligation to avoid violating citizens’ rights. Connick, 563

 U.S. at 61. Such a claim is only available where “a municipality's failure to train its

 employees in a relevant respect . . . amount[s] to ‘deliberate indifference to the rights of

 persons with whom the untrained employees come into contact.’” Id. (alteration accepted)

 (quoting Canton, 489 U.S. at 388). Generally, “a pattern of similar constitutional violations

 by untrained employees” is necessary to establish the requisite deliberate indifferenc e.

 Id. at 62. However, there is a second path to failure-to-train liability: the “single-incident”

 theory, which Plaintiff relies upon here. Id. at 63–64; (Doc. 48, ¶ 43; Doc. 58, p. 8).

        The single-incident theory was first mentioned in Canton. There, the Supreme

 Court hypothesized that a municipality could incur liability for failing to train its employees

 based on a single constitutional violation where, because of the employees’ duties, the




                                                 19
Case 6:18-cv-00932-PGB-KRS Document 60 Filed 11/14/18 Page 20 of 23 PageID 323



 need for training is “so obvious, and the inadequacy so likely to result in the violation of

 constitutional rights, that the policymakers of the city can reasonably be said to have been

 deliberately indifferent to the need.” Canton, 489 U.S. at 390. The Court illustrated with

 the following example:

        [C]ity policymakers know to a moral certainty that their police officers will be
        required to arrest fleeing felons. The city has armed its officers with
        firearms, in part to allow them to accomplish this task. Thus, the need to
        train officers in the constitutional limitations on the use of deadly force can
        be said to be “so obvious,” that failure to do so could properly be
        characterized as “deliberate indifference” to constitutional rights.

 Id. at 390 n.10 (citation omitted).

        The theory was put to the test in Connick. John Thompson was convicted of

 attempted robbery after Orleans Parish District Attorneys failed to disclose to the defense

 exculpatory evidence as required by Brady v. Maryland, 373 U.S. 83 (1963). Connick,

 563 U.S. at 54. Because of this conviction, Thompson did not testify when he went to trial

 for murder, and he was again convicted. Id. After spending eighteen years in prison, the

 Brady evidence was discovered and both convictions were vacated. Id. Thompson was

 retried and acquitted. Id. at 56. Thompson sued the attorney’s office for its policy of failing

 to adequately train its prosecutors on their Brady obligations. Id. at 57. The Supreme

 Court found that the attorney’s office was not liable under the single-incident theory,

 holding “[t]he obvious need for specific legal training that was present in the Canton

 scenario is absent here.” Id. at 64.

        Like Connick, Count II fails because Plaintiff has not plausibly alleged that the City

 of Orlando’s failure to train officers on “security in public places that are highly susceptible

 to danger, and how to enter and neutralize an active shooter,” (Doc. 48, ¶ 42), fits within

 the “narrow range of Canton's hypothesized single-incident liability.” See Connick, 563




                                               20
Case 6:18-cv-00932-PGB-KRS Document 60 Filed 11/14/18 Page 21 of 23 PageID 324



 U.S. at 64. As discussed more thoroughly above, Plaintiff has not plausibly shown that

 nightclubs are at such great risk of attack that a municipality’s failure to train its police

 officers on how to respond and even “neutralize an active shooter” amounts to deliberate

 indifference. The incredibly specific training envisioned by Plaintiff on responding to and

 neutralizing a hypothetical active shooter without violating anyone’s constitutional rights

 bears no resemblance to the use-of-deadly-force training envisioned in Canton. Though

 municipalities would be wise to train their police officers on responding to active shooters,

 failure to provide such training does not amount to a constitutional tort. See Gaviria v.

 Guerra, No. 17-23490, 2018 WL 1876124, at *7 (S.D. Fla. Apr. 19, 2018) (“Neither the

 Supreme Court nor the Eleventh Circuit has ever applied the single-incident liability

 exception.”). Count II thus does not state a plausible claim.

        D.     Leave to Amend

        Plaintiff is not entitled leave to amend. District courts must sua sponte grant leave

 to amend after dismissing a plaintiff’s pleading the first time. Vibe Micro, Inc. v.

 Shabanets, 878 F.3d 1291, 1295 (11th Cir. 2018). The Court allowed amendment after

 dismissing the Amended Complaint on August 1, 2018, and need not do so again. (Doc.

 36). Moreover, each claim fell well short of the plausibility threshold, thus the Court finds

 that further amendment would be futile. See Corsello v. Lincare, Inc., 428 F.3d 1008,

 1014 (11th Cir. 2005) (stating a district court need not allow amendment where

 amendment would be futile). The SAC is thus due to be dismissed with prejudice.




                                              21
Case 6:18-cv-00932-PGB-KRS Document 60 Filed 11/14/18 Page 22 of 23 PageID 325



          E.     The Amended Complaint is Alternatively Due to be Dismissed With

          Prejudice Because It is a Shotgun Pleading

          In the alternative, the Complaint is due to be dismissed with prejudice as a shotgun

 complaint. “Courts in the Eleventh Circuit have little tolerance for shotgun pleadings.” Vibe

 Micro, Inc. v. Shabanets, 878 F.3d 1291, 1295 (11th Cir. 2018). When a district court

 dismisses a complaint as a shotgun pleading, it must “sua sponte allow a litigant one

 chance to remedy such deficiencies.” Id. Here, after the initial Complaint was dismissed

 as a shotgun pleading, the Court sua sponte allowed Plaintiff the opportunity to replead.

 (Doc. 36, p. 2). The Court found that the initial Complaint was a shotgun in part because

 “both Counts adopt all preceding allegations (implicating the fourth type of shotgun

 pleading defined in Weiland).” (Id.). 9 Despite notice of the shotgun pleading problem, both

 Counts of the Amended Complaint “incorporate by reference all prior allegations ,”

 rendering the Amended Complaint an impermissible shotgun pleading. See Weiland, 792

 F.3d at 1321. Accordingly, the Amended Complaint is due to be dismissed without leave

 to amend for this alternative reason. See Vibe Micro, 878 F.3d at 1295–96; see also

 Jackson v. Bank of Am., 898 F.3d 1348, 1358–59 (11th Cir. 2018).

 IV.      CONCLUSION

          Accordingly, it is ORDERED AND ADJUDGED that Defendants’ Dispositive

 Motion to Dismiss (Doc. 54) is GRANTED. The Amended Complaint (Doc. 48) is

 DISMISSED WITH PREJUDICE. The Clerk of Court is DIRECTED to close the file.




 9     There are numerous varieties of shotgun pleadings, the most common being a
       pleading “containing multiple counts, where each count adopts the allegations of all
       preceding counts.” Weiland v. Palm Beach Cty. Sheriff’s Office, 792 F.3d 1313, 1321
       (11th Cir. 2015).



                                               22
Case 6:18-cv-00932-PGB-KRS Document 60 Filed 11/14/18 Page 23 of 23 PageID 326



       DONE AND ORDERED in Orlando, Florida on November 14, 2018.




 Copies furnished to:

 Counsel of Record
 Unrepresented Parties




                                      23
